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                i                                 Ira S. Nesen~ff                   Barbara H. Trapasso                       J A. Byler
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                                                                           April 11, 2019

     VIA ECF
     The Honorable LaShann DeArcy Hall
     United States District Court for the Eastern District of New York
     225 badman Plaza East
     Brooklyn, New York 11201

                    Re: Elliott v. Dor~e~an et a1.,1:18-cv-0568U(LDH)(SJB)
                                   nisi                        i~~~w~i.~.~~~




     Dear Judge DeArcy Hall:

             We represent Plaintiff, Stephen Elliott, in the above-referenced matter and respectfully
     submit this letter, pursuant to Your Honor's Individual Practice Rule I.E, requesting a one week
     e~tensian of time to respond to Defendant Moira Donegan's ("Donegan") April 8, 2419, request
     for apre-motion conference to file a motion to dismiss under Rule 12(b)(6) pursuant to Your
     Honor's Individual Practice Rule III.A (Document #29}. Plaintiff intends to oppose said motion
     to dismiss. The time to respond would be extended to April 22, 2019.

             The original response date is Monday, April 15, 2019. The undersigned is currently on
     trial with summations scheduled for early next week. The parties planned to conclude the trial
     today, however there have been unexpected delays this week. Plaintiff has made no previous
     requests for extensions of time to respond to Defendant Donegan's letter.

             `~ We spoke to opposing counsel, Ms. Roberta ~.aplan, Esq., who has graciously consented
     to this request for the one-week extension. The extension of time does not affect any other
     scheduled dates. The undersigned further intends to contact Chambers to notify the Court of the
     instant request for adjournment, both this evening and first thing tomorrow morning.

                    Plaintiff thanks the Court, and opposing counsel, for the courtesy and consideration.

                                                                           Very truly yours,
                                                                           NESEN~FF & MILTENBERG,LLP



                                                                                  Andrew T. Miltenberg, Esq'
                                                                                  Stuart Bernstein, Esq.
                                                                                  Nicholas E. Lewis, Esq.

     CC: All Counsel(Via ECF)



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